
PER CURIAM.
This cause is before us on appeal from an order of the judge of compensation claims (JCC) awarding compensation benefits and establishing entitlement to attorney’s fees. The JCC reserved jurisdiction, however, to *343set the amount of the attorney’s fee. As to that portion of the order which determines entitlement to attorney’s fees but reserves jurisdiction to set the amount of the fee, we dismiss for lack of jurisdiction. See Wometco Enterprises v. Cordoves, 650 So.2d 1117 (Fla. 1st DCA 1995). As to the remainder of the order, we affirm without further comment.
BOOTH, BENTON and PADOVANO, JJ., CONCUR.
